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                         EXHIBIT
                         EXHIBIT B
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                            MANAGEMENT            AGREEMENT

        THIS MANAGEMENT AGREEMENT                  (“Agreement”) is made and entered into
as of the hae _ day of December, 2020, by and between Charter Schools USA at
                 , LLC, a Florida Limited Liability Company, qualified to do business in
South Carolina, (““CSUSA”), and the Berkeley Charter Education Foundation, Inc., a South
Carolina non-profit corporation (the “Charter School”).

                                        RECITALS

        WHEREAS, the Charter School has submitted a charter application for the
operation of a Charter School to the Charter Institute at Erskine (the “Sponsor’’) to operate
a public charter school in Berkeley County, South Carolina (the “Charter Application”);
and

       WHEREAS, once the Charter Application is approved, the Charter School and the
Sponsor will enter into a charter contract, which shall be attached hereto and made a part
hereof; and

        WHEREAS, the Charter School has determined that it is in its best interest to
contract with a qualified and competent educational service provider to operate the Charter
School; and

        WHEREAS, CSUSA is in the business of developing, managing, staffing, and
operating public charter schools for non-profit boards; and

        WHEREAS, the Charter School wishes to hire CSUSA, and CSUSA wishes to be
hired by Charter School to manage and operate the Charter School upon the terms and
conditions set forth herein; and


       NOW, THEREFORE, for mutual and valuable consideration, the receipt and
adequacy of which is hereby acknowledged, the parties agree with each other as follows:

                                  ARTICLE I
                          CONTRACTING RELATIONSHIP

         A.      Authority. The Charter School represents that it is authorized by law to
contract with CSUSA and for CSUSA to provide educational management services to the
Charter School. The Charter School further represents that it expects the Charter
Application will be approved by the Sponsor to organize and operate a public charter
school and that once the Charter Application has been approved, the Charter School will
enter into a charter contract with the Sponsor (the “Charter Contract"). The Charter School
is therefore authorized by the Charter Application, Charter Contract and the Sponsor to
supervise and control such charter school, and is invested with all powers necessary or
desirable for carrying out the educational program contemplated in this Agreement.



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        B.      Agreement. The Charter School hereby contracts with CSUSA, to the
extent permitted by law, for the provision of all labor and supervision necessary for the
provision of educational services to students, and the management, operation and
maintenance of the Charter School in accordance with the educational goals, curriculum,
methods of pupil assessment, admission policy and criteria, school calendar and school day
schedule, age and grade range of pupils to be enrolled, educational goals, and method to
be used to monitor compliance with performance of targeted educational outcomes, all as
adopted by the Charter School’s Board of Directors (the “Board”) and included in the
Charter Contract between the Charter School and the Sponsor. CSUSA’s obligations to
the Charter School shall be only as expressly set forth in this Agreement. Duties required
to be carried out for the operation of the Charter School which are not expressly set forth
herein as being CSUSA’s responsibility shall remain the Board’s sole responsibility.

         C.     Designation of Agents. The Board designates the employees of CSUSA
as agents of the Charter School having a legitimate educational interest such that they are
entitled to access to educational records under 20 U.S.C. §1232g, the Family Rights and
Privacy Act (“FERPA”) and other applicable law. The Board, subject to its discretion,
hereby authorizes CSUSA to communicate with and negotiate on the Board’s behalf with
all state and governmental agencies, as directed by the Board.

        D.       Status of the Parties. CSUSA is a Florida limited liability company, and
is not a division or a part of the Charter School. The Charter School is a South Carolina
non-profit corporation with 501(c) (3) IRS designation (pending) authorized by the Charter
Contract, and is not a division or part of CSUSA. The parties to this Agreement intend that
the relationship created by this Agreement is that of an independent contractor and does
not create an employer employee relationship. Except as expressly provided in this
Agreement, no agent or employee of CSUSA shall be deemed to be the agent or employee
of the Charter School. CSUSA shall be solely responsible for its acts and the acts of its
agents, employees and subcontractors. The relationship between CSUSA and the Charter
School is based solely on the terms of this Agreement, and the terms of any other written
agreements between CSUSA and the Charter School.

                                       ARTICLE II
                                         TERM

         This Agreement shall be effective as of the date first written above and shall
continue for an initial term consistent with the term of the Charter Contract unless
terminated or cancelled earlier in accordance with this Agreement, or for good cause, or as
agreed by CSUSA and the Charter School. After the initial term, then the term of the
Agreement shall be extended (i) to the extent CSUSA performs in accordance with the
terms of this Agreement, (ii) in the event that the Charter Contract is extended or replaced,
or (iii) in the event the Board approves the extension by express vote. The term of the
extension of the Agreement shall correspond to the length of the Charter Contract unless
this Agreement is otherwise terminated or cancelled earlier in accordance with this
Agreement, or for good cause, as agreed by CSUSA and the Charter School. Nothing



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contained in this Agreement shall be construed to restrict or prevent the Charter School
from entering into a Management Agreement with any other party for any school other
than the Charter School that is the subject of this Agreement.




                                      ARTICLE III
                                  FUNCTIONS OF CSUSA

        A.      Responsibility. CSUSA shall be responsible and accountable to the Board
for the operation and performance of the Charter School in accordance with the Charter
Contract. CSUSA’s responsibility is expressly limited by: (i) the Charter School’s Annual
Budget, which is to be submitted and approved by the Board as provided in this Agreement,
and (ii) the availability of state funding to pay for said services. Neither CSUSA nor the
Charter School shall be required to expend Charter School funds on services in excess of
the amount set forth in the Charter School’s Annual Budget. There is nothing in the
Agreement which shall delegate the ultimate authority of the Charter School.

         B.     Educational Program.       CSUSA agrees to implement the Educational
Program. In the event CSUSA determines that it is necessary to modify the Educational
Program, CSUSA shall inform the Board of the proposed changes and obtain Board
approval, and if required under the Charter Contract, approval of the Sponsor. The parties
hereto acknowledge that essential principles of the Educational Program are its flexibility,
adaptability and capacity to change in the interest of continuous improvement and
efficiency, and that the Charter School and CSUSA are interested in results and not in
inflexible prescriptions. Not less than annually, and otherwise as requested, CSUSA will
provide the Board with updated reports on progress towards implementing each of the
Charter School’s educational goals in the Educational Program.

         C.    Specific Functions. CSUSA shall be responsible for the management,
operation, accounting and Educational Program at the Charter School. Such functions
include:

               1.      Perform day-to-day management of the Charter School, in
                       accordance with this Agreement, the non-profit purpose of the
                       Charter School, the Charter Contract and subject to the direction
                       given by the Charter School;

               2.      Implement and administrate the Educational Program, including the
                       selection   of instructional    materials,    personnel,    equipment,
                       technology and supplies, and the administration of extra-curricular
                       and co-curricular activities and programs approved by the Charter
                       School. Perform repeated evaluation, assessment and continuous
                       improvement     of the educational        curriculum     and program
                       development and report findings to the Charter School upon its
                       request;



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               3.      Management, selection, and application of technology          services
                       required to facilitate operation of the school;

               4.      Manage personnel functions, including professional development
                       for the Charter School Administrator and instructional personnel
                       and the personnel functions outlined in Article VI of this Agreement
                       including drafting operations manuals, forms (including teacher
                       offer letters, applications, enrollment and similar forms), and
                       management procedures, as the same are from time to time
                       developed by CSUSA and as approved or requested by the Charter
                       School;

               5.      Management of the business administration of the Charter School;

               6.      Management of the accounting operation, including general ledger
                       management and financial reporting including identifying and
                       applying for grants, spending and administering any grant funding
                       obtained in compliance with the specific terms and conditions of
                       said grants and participating in any audits related thereto, and
                       preparing the proposed annual budget for presentation to the Charter
                       School for modification, amendment or approval; provided that any
                       modifications or amendments shall be approved by express vote of
                       the Charter School and be consistent with the staffing and
                       educational models set forth in the Charter Contract; and; and that
                       CSUSA will abide by any express spending instructions given by
                       Charter School as authorized by its Board; and

               7.      Any other function necessary or expedient for the administration of
                       the Charter School pursuant to the Charter Contract.


          D.     Purchases. Purchases made by CSUSA on behalf of the Charter School
with the Charter School’s funds, such as non-proprietary instructional and/or curriculum
materials, books and supplies, and equipment will be the property of the Charter School.
CSUSA shall own all proprietary rights to, and the Charter School’s proprietary interest
shall not include, curriculum or educational materials that are developed or copyrighted or
similarly protected by CSUSA, including without limitation curriculum or educational
materials that are developed by CSUSA with funds from the Charter School. CSUSA’s
educational materials and teaching techniques used by or at the Charter School shall be
subject to disclosure to the extent required by law.   This provision does not apply to any
capital items leased or purchased by CSUSA with CSUSA’s own funds.

        E.      Subcontracts. CSUSA shall not subcontract the management, oversight or
operation of the teaching and instructional program, except as specifically permitted in this
Agreement or with approval of the Board.          Notwithstanding the foregoing, CSUSA



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reserves the right to subcontract any other aspects of all services it agrees to provide to the
Charter School.

        F.       Place of performance. CSUSA reserves the right to perform functions
other than instruction, such as purchasing, professional development, and administrative
functions, off-site, unless prohibited by state or local law or Charter Contract.

        G.      Ongoing Student Recruitment.         CSUSA shall develop and manage
ongoing recruitment of students subject to general recruitment and admission policies of
the Charter School. Students shall be selected in accordance with the procedures set forth
in the charter Contract and in compliance with applicable laws. CSUSA shall present a
plan to the Charter School to solicit and recruit enrolment of students by various means,
which may include but shall not be limited to the following: paid and unpaid media
advertisements in a newspaper of general circulation, mailings to parents/guardians of
prospective students, word-of-mouth and presentations to interested groups and distribute
information through advertisements.

        H.      Due Process Hearings.      CSUSA shall, at the Board’s direction, provide
student due process hearings in conformity with the requirements of state and federal law
regarding discipline, special education, confidentiality and access to records, to an extend
consistent with the Charter School’s own obligations, and if necessary retain counsel on
behalf of the School. The Board shall retain the right to provide due process as required
by law.

        I.      Legal Requirements. CSUSA shall provide Educational Programs that
meet federal, state, and local requirements, and the requirements imposed under applicable
laws and the Charter Contract, unless such requirements are or have been waived.

        J.     Rules and Procedures.         CSUSA shall recommend reasonable rules,
regulations and procedures applicable to the Charter School and is authorized and directed
to enforce such rules, regulations and procedures adopted by the Charter School.

        K.      School Year and School Day. The school year and the school day shall
be as required by law and as determined annually by the Board.

        L.      Pupil Performance Standards and Evaluation.             CSUSA shall be
responsible and accountable to the Board for the performance of students who attend the
Charter School. CSUSA will utilize assessment strategies required by the terms of the
Charter Contract. The Board and CSUSA will cooperate in good faith to identify measures
of and goals for Charter School students and school performance, including but not limited
to academic achievement and parent satisfaction. CSUSA shall perform its duties and
responsibilities as set forth in this Agreement to the reasonable satisfaction of the Board.

        M.      Services to Disabled Students and Special Education. CSUSA shall
provide special education services to students who attend the Charter School in conformity
with the requirements of state and federal law. CSUSA may subcontract as necessary and



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appropriate for the provision of services to students whose special needs cannot be met
within the Charter School’s program, subject to approval of the Board. Such services shall
be provided in a manner that complies with local, state and federal laws and applicable
regulations and policies. Consistent herewith, the Board acknowledges the individualized
nature of services that may need to be provided to disabled and special needs students and
the impact that the provision of such individualized services may have on the Annual
Budget. The Board and CSUSA mutually agree to adjust the Annual Budget as deemed
necessary with respect to the provision of services to disabled and special needs students
under this paragraph, as required by law.

              N.   Contract between the Charter School and the Sponsor. CSUSA will not
act in a manner that will cause the Charter School to be in breach of its Charter Contract
with the Sponsor.

         O.      Unusual Events. CSUSA agrees to timely notify the Board and/or school
administrator of any anticipated or known: (i) material health or safety issues, (ii) labor,
employee or funding problems, or (iii) problems of any other type that could adversely
affect the Charter School in complying with its responsibilities hereunder or its
responsibilities under the Charter Contract.

        P.      Student and Financial Records. All student and financial information
related to the Charter School shall be available for inspection at the Charter School upon
reasonable request consistent with applicable federal and state laws.

        Q.      Charter School Records/Proprietary.         The financial, educational and
student records pertaining to the Charter School are Charter School property, and such
records are subject to the provisions of the applicable freedom of information act(s) to the
extent required by applicable law. All Charter School records shall be physically or
electronically available, upon request, at the Charter School. Except as prohibited under
the Charter Contract and applicable law, the Sponsor and the public shall have access to
the Charter School’s records.

          R.       CSUSA Performance Goals.

                   a)    Timely submission of required reports set forth in this Agreement;

                   b)    Strict adherence to the approved Annual Budget for the operation
                         and management of the Charter School, with no aggregate cost over-
                         runs; and

                   C)    Such performance goals contained within the Charter Contract and
                         the Charter Application;

          S.       Educational and Other Services.     Upon Board approval, CSUSA shall
provide certain educational and other services. Such services may include but are not
limited to certain technology services, proprietary curriculum and other instructional tools



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as well as school development services which may be provided by CSUSA, its affiliates or
third party entity.


                                  ARTICLE IV
                          OBLIGATIONS OF THE BOARD

         A.      Good Faith Obligation. The Board shall be responsible for its fiscal and
academic policy. The Board shall exercise good faith in considering the recommendations
of CSUSA, including but not limited to, CSUSA’s recommendations concerning policies,
rules, regulations and budgets. If the Board’s unwillingness to adopt CSUSA’s reasonable
recommendations with respect to policies, rules, and regulations specifically inhibits
CSUSA’s ability in implementing the school design as set forth in the Charter Application,
CSUSA shall have the option of terminating this Agreement.

        B.      Assistance to CSUSA. The Charter School shall cooperate with CSUSA
in furnishing all information and submitting all forms and reports required in association
with this Agreement, including timely notice of all Board meetings. The Charter School
shall timely furnish CSUSA all documents and records necessary for CSUSA to properly
perform its responsibilities under this Agreement.

        C.     Unusual Events. The Charter School agrees to timely notify CSUSA of
any anticipated or known: (i) material health or safety issues, (ii) labor, employee or
funding problems, or (iii) problems of any other type that could adversely affect CSUSA
in complying with its responsibilities hereunder.

         D.     Retained Authority.      The Board shall retain the authority to make
reasonable regulations relative to anything necessary for the proper establishment,
maintenance, management, and carrying on of the Charter School, including regulations
relative to the conduct of pupils while in attendance at the Charter School or en route to
and from the Charter School.

        E.     Food Service.     The Charter School shall be managed, operated and
administered by or shall otherwise provide authority to CSUSA to manage, operate and
administer the Food Service for the Charter School including but not limited to cause all
conditions necessary to satisfy all requirements of the Federal Statutes regarding the
National School Lunch Program at 7 C.F.R. §210.1, et seq.

                                   ARTICLE V
                           FINANCIAL ARRANGEMENTS

         A.     Revenues.     Except as hereinafter provided, all monies received by the
Board shall be deposited in the Charter School’s depository account with a financial
institution acceptable to the Board and CSUSA. The signatories on the account shall only
be the Board members or designated CSUSA employees designated by the Board. Interest
income earned on Charter School depository accounts shall accrue to the Charter School.



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Except as specifically excluded by the terms of this Agreement, the term “Revenues” shall
include all funds actually received by or on behalf of the Charter School, including but not
limited to:


               1.      Funding for public school students enrolled in the Charter School.

               2.      Special education funding provided by Federal, State and Local
                       Governments to the Charter School that is directly allocable to
                       special education students in the Charter School.

               3,      Gifted and Talented funding provided by Federal, State and Local
                       Governments that is directly allocable to Gifted and Talented
                       students in the Charter School.

               4,      At-Risk Funding provided by Federal, State and Local Governments
                       to the Charter School that is directly allocable to At-Risk students in
                       the Charter School.

               5.      Funding provided by Federal, State and Local Governments to the
                       Charter School that is directly allocable to students in the Charter
                       School with limited English proficiency.

               6.      Federal, State and Local grant sources, including Title I and Charter
                       School start-up funds, which is directly allocable to the Charter
                       School.

               7.      Governmental grants received by the Charter School (except to the
                       extent CSUSA       is not required or involved in soliciting,
                       administering, or managing such grants and/or donations).

               8.      Fees charged to students and others for extra services as and to the
                       extent permitted by law (all of the above are hereinafter collectively
                       referred to as the “Revenues”).       Non-governmental grants and
                       donations received by, and separately procured by, the Charter
                       School shall not be considered Revenues.

        The Board may advance funds to CSUSA for the fees or expenses associated with
the Charter School’s operation (“Operating Expenses”) provided that documentation for
the fees and expenses are provided for Board ratification. The Revenues shall be expended
by CSUSA in accordance with the approved Budget and as otherwise authorized by the
Board. The expenditure of Revenues received from governmental entities shall be
consistent with all applicable regulations and policies, and in the case of private donations,
the directives of the donor where applicable. To the extent that there are not sufficient
funds in the Operating Account to pay necessary Operating Expenses (excluding fees to
CSUSA under this Agreement), CSUSA may, at CSUSA’s option, deposit funds into the



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 Charter School Operating Accounting (“Operating Advances”). Operating Advances can
 only be made in accordance with the approved Annual Budget. The Charter School shall
 reimburse CSUSA all Operating Advances, together with interest earned thereon from
 Total Revenues as and when the funds become available; provided, however, that if at the
 end of each Fiscal Year Total Revenues, after payment of Debt Service and Operating
 Expense, are insufficient to reimburse all Operating Advances attributable to such Fiscal
 Year, CSUSA may forgive the un-reimbursed balance of Operating Advances, including
 interest earned thereon. At all times, any advances issued by CSUSA shall be made only
 with the consent of the Charter School.

          B.    Budget.

         CSUSA shall manage the budget, accounting, and financial reporting functions for
 the Charter School in accordance with the Requests of the Sponsor, the provisions of the
 Charter Contract and the approved Annual Budget by the Board.         Charter School shall
 maintain sufficient funds in the budget for independent legal counsel, an independent
 auditor, and sufficient funds to hire staff or other consultants necessary to oversee
 performance of CSUSA and school operations. Such accounting, financial reporting, and
 any auditing, as set forth in paragraph E below, shall be performed in accordance with
 generally accepted government accounting and auditing principals.

         CSUSA shall prepare and submit to the Charter School for its approval for each
 Fiscal Year (July 1-June 30), an Annual Budget for the Charter School. Each Annual
 Budget shall state an estimate for the coming Fiscal Year for (i) Total Revenues; (ii)
 Operating Expenses; (iii) Reserve Expenses; (iv) Audit Expenses; and (v) Fund Balance.

         Reserve Expenses means the amount of money reflected in the Annual Budget that
 CSUSA must deposit into an account for Reserve Expenses.            The Reserve Expense
 Account shall be used for the establishment of reasonable reserves for long-term renewal
 and replacement of the School Facility or portions thereof. CSUSA shall obtain approval
 from the Charter School to withdraw funds from the Reserve Expense Account. There
 shall be a goal of 1% of funding each year for both the reserve and fund balance.

         (1)     CSUSA shall submit to the Charter School for its review and approval a
 preliminary Annual Budget for each Fiscal Year for the Charter School, on or before May
 31st of the current Fiscal Year. It is the intent of this provision that CSUSA prepare and
 submit to the Charter School a balanced Annual Budget, which shall provide for full
 payment of the (i) Total Revenues; (ii) Operating Expenses; (iii) Reserve Expenses, (iv)
 Audit Expenses and (v) Fund Balance with respect to the Charter School.

         (ii) | The Charter School must notify CSUSA in writing that it approved the
 Annual Budget within thirty days of submission by CSUSA, which approval shall not be
 unreasonably withheld or delayed. If the Charter School does not approve the Annual
 Budget, the Charter School shall give specific reasons therefore and continue to deposit the
 balance of Total Revenues into the Charter School Operating Account pursuant to its
 obligations in Article V. If the Charter School does not approve the Annual Budget within



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thirty days of submission by CSUSA, Charter School shall be deemed to approve the
Annual Budget. CSUSA and the Charter School acknowledge that a Final Budget shall be
completed no later than June 30.

        (iii)    CSUSA may amend the Annual Budget(s) not less frequently than semi-
annually in order to reflect the results of the most recent student count and may make such
other modifications as it may from time to time find necessary. Any such amendment shall
only be valid if approved by the express vote of the Board. CSUSA shall report any
changes upon which the Annual Budget was based within fifteen days after CSUSA
becomes aware of any such change.

        (iv) _ CSUSA     shall operate and manage           the Charter School   according to its
 Annual Budget.

        (v)     CSUSA shall use reasonable efforts to operate the Charter School within its
 Annual Budget.

         C.      Fee. CSUSA shall be entitled to compensation for its services in the
 amounts specified in Exhibit "A" hereto payable monthly in arrears in substantially equal
 monthly installments during such year. The compensation shall be consistent with all
 applicable law and regulation. To the extent any compensation shall be unpaid at the end
 of any (past and future) Fiscal Year, such unpaid compensation shall be deferred and due
 when the School has available net operating revenue.

         D.      Availability of Funds.   CSUSA shall only be required to perform its
 responsibilities under this Agreement to the extent that there are sufficient Revenues to
 make payments in accordance with the terms of the Budget.

           E.   Financial Reporting.   CSUSA shall provide the Board with:

                1.     The projected Annual         Budget    as required by the terms     of this
                       Agreement.

                2.     Detailed   statements    of    all    Revenues   received,   and   detailed
                       statements of all expenditures for services and or expenses rendered
                       or incurred to or on behalf of the Charter School, whether incurred
                       on-site or off-site, upon request.

                3,     Monthly financial statements by the 30" day of the following month,
                       including a balance sheet, statement of revenues and expenditures.

                4,     Other information on a periodic basis to enable the Board to (i)
                       monitor CSUSA’s performance and the efficiency of its operation
                       of the Charter School, and (ii) furnish reports and information which
                       the Charter School is required to provide pursuant to its Charter
                       Contract and/or applicable laws.



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         F.      Audit. Charter School will select and retain an independent accounting
 firm (“Independent Auditor”) firm to perform an annual financial audit. CSUSA Records
 related to Charter School management and spending will be available at all times to the
 Charter School and its Independent Auditor. CSUSA will cooperate with Independent
 Auditor in its preparation of an annual audit.

         G.       Access to Records.        CSUSA shall keep accurate financial records
 pertaining to its operation of the Charter School, together with all Charter School financial
 records prepared by or in possession of CSUSA, and shall retain all of the said records for
 a period of time as may be required by the Charter Contract. CSUSA and the Charter
 School shall maintain the proper confidentiality of personnel, students, and other records
 as required by law.

        H.     Review of Operational Budget.        The Board shall be responsible for
 reviewing and approving the Annual Budget of the Charter School as presented by CSUSA.


          I.     Annual Audit. The Board shall select and retain an independent auditor,
 to conduct an annual audit of the Charter School in accordance with the Charter School’s
 authorizing documents. Subject to applicable law, all finance and other records of CSUSA
 related to the Charter School will be made available to the Charter School’s independent
 auditor.

          J.      Start-up Operating Losses. With Charter School approval, CSUSA may,
 in its sole discretion, provide funds for operating losses for the Charter School during the
 start-up period. CSUSA advances shall be budgeted and shall be in amounts acceptable to
 CSUSA. CSUSA shall be reimbursed from the Revenues as and when funds are available.
 Advances shall not be made for the fees comprising Compensation on Exhibit A.

         K.     Marketing. Marketing and development costs paid by or charged to the
 Charter School shall be limited to those costs specific to the Charter School program and
 may include costs for the marketing and development of the Charter School.


                                     ARTICLE VI
                               PERSONNEL & TRAINING

          A.      Personnel Responsibility.        .CSUSA shall select and hire qualified
 personnel to perform services at the Charter School. Personnel shall be employees of
 CSUSA, unless otherwise agreed by CSUSA and the Board. Each party shall be responsible
 for all compensation for their respective employees. The compensation of all employees
 will be paid in accordance with the approved Annual Budget referenced in Article V of this
 Agreement. CSUSA shall have the responsibility and authority to determine staffing levels,
 and to select, evaluate, assign, discipline, transfer and terminate personnel consistent with
 state and federal law.



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          B.      School Administrator.      The accountability of CSUSA to the Charter
 School is an essential component of this Agreement. Since the responsibility of the School
 Administrator is critical to the Charter School’s success, CSUSA shall have the authority,
 consistent with state law, to select and supervise each School Administrator and to hold
 the School Administrator accountable for the success of the Charter School. CSUSA shall
 consult with the Board with respect to the hiring of the School Administrator, and CSUSA
 shall remove the School Administrator from the Charter School if the Board is reasonably
 dissatisfied with his or her performance.

         C.      Teachers.     CSUSA shall determine the number of teachers, and the
 applicable grade levels and subjects, required for the operation of the Charter School.
 CSUSA shall provide the Charter School with such teachers, qualified in the grade levels
 and subjects required, as are required by the Charter School. The curriculum taught by such
 teachers shall be consistent with the Educational Program. Such teachers may, in the
 discretion of CSUSA, work at the Charter School on a full or part time basis. If assigned
 to the Charter School on a part time basis, such teachers may also work at other schools
 managed or operated by CSUSA. Each teacher assigned to the Charter School shall have
 such credentials, certifications and experience as may be required under the Charter
 Contract and applicable laws and shall undergo a criminal background check as if such
 teacher was employed by the Charter School.

          D.     Support Staff. CSUSA shall determine the number and the functions of
 support staff required for the operation of the Charter School. CSUSA shall provide the
 Charter School with qualified staff to efficiently operate the Charter School in accordance
 with the Charter Contract. The support staff may, in the discretion of CSUSA, work at the
 Charter School on a full or part time basis. If assigned to the Charter School on a part time
 basis, the support staff may also work at other schools managed or operated by CSUSA.

         E.     Training.     CSUSA shall provide training in its methods, curriculum,
 program, and technology to all teaching personnel on a regular basis. Instructional
 personnel shall receive at least the minimum hours of professional development required
 by applicable laws. Non-instructional personnel shall receive such training as CSUSA
 determines reasonable and necessary under the circumstances.

         F.      Limitations on Discretion.     All decisions made by CSUSA, and any
 discretion exercised by  CSUSA,  in its determination  of staffing levels and its selection,
 evaluation, assignment, discipline, and transfer of personnel, shall be consistent with the
 approved Annual Budget, local, state and federal law, and consistent with the parameters
 adopted by the board and included within the Educational Program.

                                       ARTICLE VII
                                        DEFAULT

         A.      Default. An event of default (“Event of Default”) by either party shall be
 limited to the following:



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                    The Charter School fails to make any payment due hereunder within
                    ten (10) business days after the date such payment was due.

                    The Charter School materially breaches any of its other obligations
                    under this Agreement and fails to cure such material breach within
                    sixty (60) days after notice of such breach.


                    If CSUSA shall under such law as shall be applicable to it
                    commence any case or proceeding, or file any petition in
                    bankruptcy, or for reorganization, liquidation or dissolution, or be
                    adjudicated, insolvent or bankrupt, or shall apply to any tribunal for
                    a receiver, intervener, conservator or trustee for itself or for any
                    substantial part of its property; or if there shall be commenced
                    against it any such action and the same shall remain un-dismissed
                    for more than thirty (30) days.

                    If CSUSA is found by an administrative or judicial body to have
                    made fraudulent use of funds, or if an administrative or judicial body
                    has revoked any license that may be required for CSUSA to carry
                    on its business and perform its obligations and functions under this
                    Agreement.

                    If CSUSA materially breaches this Agreement. A Material Breach
                    requires an express finding by the Sponsor or a court of competent
                    jurisdiction, by clear and convincing evidence, that a Material
                    Breach occurred. A Material Breach includes (1) failure to account
                    for its expenditures or pay the Charter School’s operating costs
                    (provided funds are available to do so), (11) failure to follow policies,
                    procedures, rules or curriculum duly adopted by the Board which is
                    not in violation of this Agreement or the law, or (iii) insufficient
                    progress has made in attaining student achievement objectives of the
                    Agreement and the Charter Contract, and it is not likely that such
                    objectives can be achieved before expiration of this Agreement, (iv)
                    if the health, safety, or welfare of the students is threatened, (v)
                    violation of law, (vi) the revocation, suspension or termination of
                    licenses/certifications needed for any Charter School operations
                    solely as direct result of an act or failure to act by CSUSA, and (vii)
                    the revocation by the sponsor of the Charter Contract solely as the
                    direct result of an act or failure to act CSUSA. In the event of a
                    material breach, CSUSA shall have (60) days after receipt of written
                    notice to remedy said breach. In the event of a breach related to the
                    health, safety or welfare of students, CSUSA shall have ten (10)
                    days after receipt of written notice to remedy said breach.




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          B.     Remedies. Upon the occurrence of an uncured Event of Default by either
 party, the non-breaching party shall be entitled to pursue all remedies available under law
 or equity, including without limitation, terminating this Agreement upon seven (7) days
 prior written notice. In the event of termination of this Agreement for any reason by either
 party prior to the end of this Agreement’s term, CSUSA may, for a fee reasonably
 acceptable to CSUSA, provide the Charter School reasonable assistance for up to thirty
 (30) days to assist in the transition to another administrative or structural arrangement
 (although CSUSA shall not be required to provide any assistance to another management
 company or service provider). However, CSUSA will abide by all state laws that govern
 transition obligations, including but not limited to:

                e       Transfer to such entity of all student records;

                °       Transferring any and all other non-proprietary information and
                        providing necessary assistance to the new program or education
                        service provider to ensure the least disruption of the Charter School
                        operation as a result of the termination of this agreement,

                °       Transferring and/or assigning to the Charter School all contracts,
                        agreements, licenses, permissions, and other rights and privileges
                        related to the operation of the Charter School; including, at
                        CSUSA’s option, assignment of contracts for Personnel.




                                     ARTICLE VIII
                                   INDEMNIFICATION

          Each party to this Agreement does hereby indemnify and hold harmless the other,
 and the Sponsor, and their respective boards of directors, partners, officers, employees,
 agents, representatives, and attorneys from and against any and all claims, actions,
 damages, expenses, losses or awards which arise out of (i) its negligence, (ii) its action
 taken or not taken, or (iii) its noncompliance or breach of any of the terms, conditions,
 watranties, representations, or undertakings contained in or made pursuant to this
 Agreement. As used in this subsection, “party” shall include the party’s trustees, directors,
 officers, employees, agents, representatives and attorneys. Such indemnification may be
 achieved by the joint purchase of general liability and property insurance policies, or by
 such other means as the parties may mutually agree.




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                                        ARTICLE IX
                                        INSURANCE

         A.     Insurance Coverage.   Each party shall maintain such insurance in the
 coverage amounts as may be required by the Charter Contract, with the other party listed
 as an additional insured. Revenues from the Charter School will be used to purchase
 insurances defined in the Charter Contract to operate the Charter School, including the
 provision of Directors & Officers Liability insurance for the Board. Each party shall, upon
 request, present evidence to the other that it maintains the requisite insurance in compliance
 with the provisions of this paragraph. Each party shall comply with any information or
 reporting requirements required by the other party’s insurers, to the extent reasonably
 practicable.

         B.      Workers’ Compensation Insurance. Each party shall maintain workers’
 compensation insurance as required by the Charter Contract and applicable laws, covering
 their respective employees.

                                         ARTICLE X
                      WARRANTIES         AND REPRESENTATIONS

         A.      Charter School Warranties and Representations. The Charter School
 represents that it has the authority under law to execute, deliver and perform this
 Agreement and to incur the obligations provided for under this Agreement. The Board
 warrants that its actions have been duly and validly authorized, and that it will adopt any
 and all resolutions or expenditure approvals required for execution of this Agreement.

          B.     CSUSA Warranties and Representations.                CSUSA warrants and
 represents that it is a limited liability company authorized to conduct business in the State
 of South Carolina. CSUSA will comply with all registration and licensing requirements
 relating to conducting business under this Agreement. The Charter School agrees to assist
 CSUSA in applying for such licenses and permits and in obtaining such approvals and
 consents. CSUSA further warrants that there is no pending or threatened litigation that
 would impact its ability to perform its obligations under this Agreement.

          C.     Mutual Warranties. The Charter School and CSUSA mutually warrant to
 the other that there are no pending actions, claims, suits or proceedings, to its knowledge,
 threatened or reasonably anticipated against or affecting it, which if adversely determined,
 would have a material adverse effect on its ability to perform its obligations under this
 Agreement.

                                       ARTICLE XI
                                     MISCELLANEOUS

        A.     Sole Agreement. This Agreement supersedes and replaces any and all prior
 agreements and understandings between the Charter School and CSUSA.




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        B.      Force Majeure. Notwithstanding any other sections of this Agreement,
neither party shall be liable for any delay in performance or inability to perform due to acts
 of God or due to war, riot, embargo, fire, explosion, sabotage, flood, accident, labor strike,
pandemic, or other acts beyond its reasonable control; provided either party may terminate
this Agreement in accordance with the termination provisions contained in this Agreement
if sufficient grounds exist as provided in the Article of this Agreement governing
termination.

          C.     State Governing Law/Waiver of Jury Trial. The rights of all parties
 hereto shall be subject to the jurisdiction of and be construed according to the laws of the
 State of South Carolina. Venue for state or federal court shall be the district and/or divisions
 appropriate to Berkeley County, where the Charter School is located. CSUSA and the
 Charter School hereby waive the right to a jury trial in any action, proceeding or
 counterclaim brought by either CSUSA or the Charter School against the other.

         D.     Agreement in Entirety. This Agreement is intended to conform to the
 obligations and requirements in the Charter School Contract between the Charter School
 and Sponsor, and this Agreement is hereby modified to incorporate or alter any provision
 required to accomplish that purpose. As so modified, this Agreement constitutes the entire
 agreement of the parties.

          E.     Official Notices. All notices and other communications required by the
 terms of this Agreement shall be in writing and sent to the parties hereto at the facsimile
 number or address set forth below. Notice may be given by: (i) by facsimile with written
 evidence of confirmed receipt by the receiving party of the entire notice, (ii) certified or
 registered mail, postage prepaid, return receipt requested, or (iii) personal delivery. Notice
 shall be deemed to have been given on the date of transmittal or personal delivery if given
 by facsimile or personal delivery, or upon the date of postmark if sent by certified or
 registered mail. Notices to the Charter School shall be sent to the current address of the
 then current Board President or Chairman, with a copy to the then current Board attorney.
 The address of the parties hereto for the purposes aforesaid, inclusive of the address of the
 initial Board President or Chairman and Board attorney, are as follows:




 The Charter School:



 with a copy to:

 CSUSA:
       Jonathan K. Hage
           Chairman, Chief Executive Officer
           Charter Schools USA
           800 Corporate Drive #124
           Ft. Lauderdale, FL 33334



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           Phone: 954-202-3500
           Fax: 954-202-2047

 with a copy to:

           Tripp Scott, P.A.
           Attn: Edward J. Pozzuoli
           110 S.E. Sixth Street
           15th Floor
           Fort Lauderdale, FL 33301
           Phone:     954-525-7500
           Fax:     954-761-8475

         F.     Assignment.          Either party may assign this Agreement with the written
 consent of the other.

         G.     Amendment. This Agreement shall not be altered, amended, modified or
 supplemented except in writing and approved by the Board and signed by both the
 President or Chairman of the Board and the CEO of CSUSA.

         H.      Waiver. No waiver of any provision of this Agreement shall be deemed or
 shall constitute a waiver of any other provision. Nor shall such waiver constitute a
 continuing waiver unless otherwise expressly stated.

         I.       Cost and Expenses. If any party commences an action against another
 party as a result of a breach or alleged breach of this Agreement, the prevailing party shall
 be entitled to have and recover from the losing party its reasonable costs and attorneys’
 fees (including those incurred at appellate levels).

         J.     Delegation of Authority. Nothing in this Agreement shall be construed as
 delegating to CSUSA powers or authority of the Board, which are not subject to delegation
 by the Board under applicable law.

         K.      Compliance with Law.          The parties to this Agreement agree to comply
 with all applicable laws and regulations.

         L.     Compliance with Charter Contract. The parties to this Agreement agree
 to comply with the terms and conditions set forth in the Charter Contract.


                               SIGNATURE       PAGE TO FOLLOW




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        IN WITNESS WHEREOF, the undersigned have executed this Agreement as of
the date and year first above written.


CSUSA

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By: <r
Name:         Jonathan K/Hage              /
Title:        President/CEO--~
Date:              || f A447C7 2 {j


Charter Schoo

By:                y2 AD                             a
Name: ASlewart Weinberg. Ph.D,                       (

Title:        President_
Date:     _12/31/2020




                                                     EXHIBIT "A"



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                                    EXHIBIT "A"


Category                                                    Percentage of Revenue
Personnel Management Costs                                  3%
Procurement/Vendor Management Costs                         1%
Education Intellectual Property & Curriculum Costs          4%
Finance & Accounting Services Costs                         2%
Support Center General Overhead & Fee                       5%




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